            Case 4:14-cv-04037-SOH Document 1-2                                             Filed 02/28/14 Page 1 of 5 PageID #: 26
                            Richard LeWIS
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                               NATIONAl LABOR RELAnONS BOAR[)                                                               case                 Da!1! Filed
                               CHARGE AGAINST EMPLOYER                                                                                                           1',

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                                                        1. EMPLOYER AGAINST IM-IOM CHARGE IS BROUGHT                                                                 ~I                                   .
      , •. Name of Emplcyer                                                                                        Il. Tet No.                                                                            I
          SOUTHERN BAKERIES LLC                                                                                                   (870}717-9031                      ~I                               ,       I
                                                                                                                             Co   Cell No.                       a!                                       I
      i I. Addl1l$S Cstn:et, dey. stale ZIP ClClde)                  e. Em~ Repres8f)ta5v1l'                                 r. Fax No.
           2700 E 3RD ST. HOPE, AR 71801­
          6237
                                                                        RICKEY GLENN LEOBEITER,                                   (870)7n-240e                   II                                       !

                                                                        Executive Vice-President                             g.e-MaiJ

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       he Nalionallabor Relations Act, and these unfair labor practices are I'I'ifdices afl'eding c:ornmerce wilhin the meaning of the Ac:t. ()I' 1hes .,unfalr I
      ; abor~ctiC8S are unfarr Dradices affectina commerce within the meaning r:Jf the Ad and the Postal Reonlanization Ad..                                           'l.'                           i
        t Basis r:Jf !he Charge (.sal iodh a clBM ami conei.se statement of the Iat:t.! conslitLJtlng Ih8 alleged tJIIfair Iabof praCik::te1;)
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       !. Full name 01 patty r,ling charge (if labor organizatIOn. give fufJ name, inc/IJding local ftiff11lt snd number)                                                 I]I
          BAKERY, CONFECnONARY. TOBACCO AND GRAIN MILLERS INTERNATIONAL UNION, lOCAl. 111                                                                                  ,r
       ~2. Address (streer and number.    city, slate, and ZIP code}
          1720 OCAu.A AVE. DALLAS. TX 75218-4239
                                                                                                                             4b. Tel. No.
                                                                                                                                  (214)328--8151                            !    I
                                                                                                                             4c. Call No.                                                             I
                                                                                                                                  r817}239-6098                             !I.                       I
                                                                                                                             4d. Fax No.
                                                                                                                                  (214)321-5046
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      5. Full name at naUonBf or International labor organization of wtlicl1 it IS an .ttlliBte or mnsIituenl unit (lO be fiJIBd in wtten ch"!f1& ;$ Ned by ~ i            f'
      "98 f1iulion)                                                                                                                                         I \ .
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          BAKERY, CONFECTIO NARY. TOBACCO AND GRAIN MILLERS INTERNATIONAL UNION, LOCAL 111                                                                                 1.                         ;
      i   DECLARATION                                                                                                        Tef.No.                                       I'             I           I
          t declare. ~ I trave read the above charge and thaI the statements a/'I! truetr.:o Ihe best or
          my know.dge and belief.
                                                                                                                                  (214)328-8151
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                                                                                                                             Office. if BII)'. Cell No


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                                                                               RICHARD LEWIS,
                                                                               Financial
                                                                               SecretaIyfrreasurer
                                                                                                                             (817)239-6095
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          tSignatu   01 representati\'e c;;:pema;gngd1arge)                    Prinl Name :and Trtte                         Fax No.                                                                  I

                                                                                                                             (214 }321-5046                                     [l \                  I
                 1720 OCAlLA. AVE. DALLAS. TX
          Address,                                                             Date:                                         e-Mail                                        J;I I .
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                                                                                                                                                         Exhibit A
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  1. On or about November 2012, the above-named Employer, through its officers, agents, and                       I
       supervisors, unilaterally changed employees work conditions by installing video cameras in the
       lunch room areas.                                                                                      .,
  2. On or about November 2012, the above-named Employer, through its officers, agents, and                   rl:
       supervisors, installed video cameras in the lunch room giving the impression of surveillance 0 i
       union activities.                                                                                          .
  3.   Since on or about November 2012, the above-named Employer, through its officers, agents, and
       supervisors, has failed and refused to bargain with the Union regarding its instillation of
       surveillance cameras in the lunch rooms.
  4.   For the last six months and continuing, the above-named Employer, through its officers, agents,
       and supervisors, made working conditions harder on Earnest Beasley in retaliation for his uniil,.ln
       activities.
  S. On or around January 7, 2013, the above-named Employer, through its officers, agents, and                    !
       supervisors, hindered access of Union representatives by unilaterally changing the space utilized
       in meetings with employees.
  6.   On or around January 7,2013, the above-named Employer, through its officers, agents, and
       supervisors isolated the Union, and affected its ability to visit with employees by blocking the
       windows between the small and large lunch rooms.                                                   I·
  7.   On or around January 7, 2013, bye-mail, the Employer, through its officers, agents, and                !

       supervisors, told the Union that it could only come to the facility for the purpose of seeing   t~~t
       the agreement was being observed, told the Union that it was not permitted to hold generall i
       solicitation or propaganda meetings with bargaining unit employees, threatened the Union to'
       no longer allow them on the premises if the Union engaged in any activities at the facility thak;
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       the Employer deemed to be more than for the purpose of seeing that the agreement was being
                                                                                                        Ii
       observed, informed the Union that it would not be permitted to interact with employees in th:e
       large lunch room or any other area of the plant, and informed the Union that it would    ensur~:
       the terms and conditions of the contract were abided by, all in violation of its past practice. I
  8.   On or around January 8, January 10, January 16, 2013, and again on February 7,2013 the atxive­
       named Employer, through its officers, agents, and supervisors, unilaterally changed the          I
       conditions upon which it gave the Union access to the plant for union visitations by imposing l
       Employer notifications and guidelines the Union would be expected to comply with, told the
       Union that it could not promote or talk about the upcoming election with employees, and
       wamed the Union that visitation had to follow the Employers guidelines and conditions if it      ·1·




       intended to continue coming to the plant for union viSitations.
  9.   Since on or around January 12, 2013, and continuing, the above-named Employer, through its
       officers, agents, and supervisors, unlawfully spied on employee union activities by sending
       employees to attend union meetings and report information back to them.
  10. In January 2013, and continuing, the Employer, by Dan Banks, monitored employee activity
       during union visits in the lunchroom bVclosely observing which employees had entered the
       lunch room where Union Representatives were present.
  11. On or around January 16, 2013 the above-named Employer, through its officers, agents, and
       supervisors, threatened to no longer allow the Union access to the plant for union visitations.
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 12. On or around January 16, 2013 the above-named Employer, through its officers, agents, and
    supervisors, suspended Earnest Beasley in retaliation for his union activities.
 13. On or around January 17, 2013, the above-named Employer, through its officers, agents, and
    supervisors, by Dan Banks, entered the lunch room while employees were visiting with         unio~
    Reps, surveilled and/or gave employees the impression that their union activities were undet
    surveillance
 14. On or around January 17, 2013 the above-named Employer, through its officers, agents, and
    supervisors posted a memo to employees making disparaging comments about the Union an1
    implying that the Union has not been representing the employees.                                     ,
 15. On or around January 21,2013 the above-named Employer, through its officers, agents, and
    supervisors, bye-mail, the Employer a) unilaterally began to require the Union to specify the
    reason for its visits and justification for the visits and; b) threatened to no longer allow union
    visitations and threatened arrests of union officials for trespassing.
 16. On or around January 22, 2013 the above-named Employer, through its officers, agents, and l
    supervisors, terminated Earnest Beasley in retaliation for his union activities.
 17. On or around January 23,2013, and again February 1,2013 the above-named Employer, .
    through its officers, agents, and supervisors, held captive audience meetings where it made
    statements and threats to employees that: 1) The Union made promises it couldn't keep and,
    would promise the moon to keep collecting union dues from employees; 2) the Union was th~
    cause of Hostess going bankrupt; 3) if the Union remained at the facility the employees would
    end up just like those at Hostess; 4) The Union was putting the company at risk; 5) other
    employees got raises because they were not in the Union and the Employer could not give
    bargaining unit employees a raise because they were under a union contract, 6) the Union cOfts
    the Employer too much money and that is why the represented employees were not getting ,:
    raises; 7) employees who reported that others were harassing them about the union could be
    fired, and instructed employees to report such activity; 8) the Union could not get raises for the
    employees and cpuld not get the employees anything that the Employer did not give them; 9)
    the Union was responsible for companies going out of business; 10) strikes were done by the.
     Union to cause the company problems and that was the wrong thing to do; 11) the Hostess             j

     plant shut down because of the Union; 12) the Union did nothing but spend employees money;
     13) the Union was filing charges to keep the employees from being able to go to an election, and
    the Employer instructed employees to ask the Union why it would not let them vote and make a
    decision for themselves; 14) the Union went on strike at Hostess causing all employees to los~
    their jobs, and causing the employees not to have Christmas; 15) everything given to the
    employees came from the Employer and not from the Union because the Union did not pay the
    employees' salary; 16) the Employer did not like the Union; 17) the Union only took employees
     money; 18) Union's drag companies down resulting in companies not surviving; 19) Union's hurt
    Employer success, cripple team unity, and cost employee's their jobs; and 20) continuing to be
     represented by the Union could affect long-term success and job security.
 18. On or around January 23,2013 and again on February 1,2013 the Employer promised money to
     employees in exchange for employees returning coupons with union signatures.
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 19. On or around January 23, 2013 and again on February 1,2013 the Employer showed slides in the
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    captive audience speech meeting showing plant closures, making statements disparaging the:
    Union, and ,making statements that it would be futile to support the Union.
 20. On or around February 4, 2013 the above-named Employer, through its officers, agents, and     i
    supervisors, interrogated employees regarding their discussion of the union with co-workers..
 21. On or around February 4, 2013 the above-named Employer, through its officers, agents, and !
    supervisors placed Vicki Loudermilk, Sandra Phillips and Lorraine Marks under investigation d~e
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    to their union activities.                                                                   i
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 22. On or around February 8, 2013 and continuing, the above-named Employer, through its office'rs,
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    agents, and supervisors denied access to the Union for plants visitations.
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 23. On or around February 12, 2013 the above-named Employer, through its officers, agents, andl
    supervisors, posted a memo to employees stating that 1) the Union made promises it couldn~t
    keep; 2) employees would receive money for signed returned union coupons; 3) bargaining unit
    employees did not receive raises due to the Union; 4) the Union causes bickering, back-stabbihg,
    and harassment; 5) the Union filed silly grievances; 5) the Union threatened boycotts and   stri~es
    and; 6) the Union was filing meritless board charges.
 Case 4:14-cv-04037-SOH Document 1-2              Filed 02/28/14 Page 5 of 5 PageID #: 30


                              UNITED STATES OF AMERICA

                 BEFORE THE NATIONAL LABOR RELATIONS BOARD


SOUTHERNBAKERIESLLC

       Charged Party

              and
                                                        Case 15-CA-I01311
BAKERY, CONFECTIONARY, TOBACCO AND
GRAIN MILLERS INTERNATIONAL UNION,
LOCAL 111

       Charging Party



AFFIDAVIT OF SERVICE OF CHARGE AGAINST EMPLOYER

I, the undersigned employee of the National Labor Relations Board, state under oath that on
March 29, 2013, I served the above-entitled document(s) by post-paid regular mail upon the
following persons, addressed to them at the following addresses:

RlCKEY GLENN LEDBETTER, Executive
Vice-President, General Manager
SOUTHERN BAKERIES LLC
2700 E 3RD ST
HOPE, AR 71801-6237

DAVID L. SWIDER, Attorney
BOSE MCKINNEY & EVANS LLP
111 MONUMENT CIR STE 2700
INDIANAPOLIS, IN 46204-5120

SANDRA PERRY, ESQ.
BOSE MCKINNEY & EVANS LLP
111 Monument Circle
Suite 2700
Indianapolis, IN 46204


March 29, 2013                                        Miranda Middleton, Designated Agent of
                                                                     NLRB
                       Date                                           Name

                                                               /s/ Miranda Middleton

                                                                      Signature
